
670 S.E.2d 566 (2008)
STATE of North Carolina
v.
Lamar Dameian BASS.
No. 373P08.
Supreme Court of North Carolina.
December 11, 2008.
Lamar D. Bass, Pro Se.
C. Norman Young, Jr., Assistant Attorney General, David Saacks, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 660 S.E.2d 123.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 12th day of August 2008 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 11th day of December 2008."
Upon consideration of the petition filed by Defendant on the 12th day of August 2008 in this matter for a writ of certiorari under G.S. 7A-32(c), 15A-1442 et seq and Rule 21 of the N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
